By the Court: The meaning of the act is, that such bonds shall be considered as judgments, so far only as concerns the evidence necessary to prove them. It does therefore dispense with the proof of execution by the subscribing witness. They may be taken at a place so far distant from that where they were returnable, as to render it inconvenient to procure the attendance of witnesses. To avoid this difficulty, the bonds are to be returned by a sworn officer, and like recognizances may be carried to execution, without proving the obligor's acknowledgment. Further then this, the act does not invest these bonds with the qualities of a record; for notice must be given to the party, and the fact of breaking the prison bounds made out in evidence, before an execution can issue.
NOTE. — An action cannot be maintained upon a bond to keep the prison bounds, for by the act it has the force of a judgment, and the creditor may have execution thereon, upon motion in court. Brown v.Frazier, 5 N.C. 421.
   Cited: S. v. Pearson, 100 N.C. 417. *Page 93 
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